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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 1 of 31 Page|D #: 80

UNITED STA'I`ES DISTRICT COURT

FOR THE
DISTRICT (}F I)ELAWARE
}AMES C. DAY, )
Plaintiff §
v. § Case No.: 1:11-cv-{}0058-GMS

\..'/

OXFORD MANAGEMENT SERVICES M) COMPLAINT AND DEMAND FOR
ROBERT MARTIN. Individuallv and on) JURY TRIAL

 

 

behalf of Oxford Management Services, )
) (Unlawfui I)ebt Collection Practices)

Dcfendants_ )

)

 

AMENI)ED CoMPLAINT
JAMES C. DAY (“Piaimirr’), by his arrorneys, KIMMEL a sILVERMAN, P.c., alleges

the foiiowing against OXFORD MANAGEMENT SERVICES and ROBERT MARTIN

lndividualiv and on behalf of Oxford Managemcnt Services (“Defendants”):

INTR()DUCTI()N

1. This is an action for actual and statutory damages for violations of the Fair Debt

Coilection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, er seq.

JURISDICTION AN]) VENUE

2. Jurisdiction of this court arises pursuant to 15 U.S.C. § i692k(d), Which states
that such actions may be brought and heard before “any appropriate United States district court
Without regard to the amount in controversy,” and 28 U.S.C. § 1331 grants this court original

jurisdiction of all civil actions arising under the laws of the Unitcd States.

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PLAINTIFF’S AMENDED COMPLAINT

 

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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 2 of 31 Page|D #: 81

3. Defendant§ conducts business in the State of Deiaware and therefore, personal
jurisdiction is established
4. Venue is proper pursuant to 28 U.S.C. § 1391(b)(1).

5. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.

PARTIES

6. Plaintiff is a natural person residing in Wilmington, Delaware, 19808.

7. Plaintiff is a “consurner” as that term is defined by 15 U.S.C. § 1692a(3).

8. Defendant OXFORD MANAGEMENT SERVICES (hereinafter “Defendant
OXFORD” is a national debt collection company With its corporate headquarters located at
4180 Ol<eechobee Road in Fort Pierce, Florida, 34947.

9. Defendant ROBERT MARTIN, Individuallv and on behalf of Oxford
Management Services (hereinafter “Defendant l\/IARTH\I”)q is the owner of Defendant
OXFORD located at 4180 Okeechobee Road in Fort Pierce, Fl_orida, 34947.

10. At all relevant times Defendants OXFORD and MARTIN acted as is a “debt

 

collector” as that term is defined by 15 U.S.C. § 1692a(6) and attempted to collect a consumer
debt from Plaintiff.

ll. Defendant§ acted through mem its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and

insurers

PRELIMINARY STATEMENT
12. The Fair Debt Collection Practices Act (“FDCPA”) is a comprehensive statute,

Which prohibits a catalog of activities in connection With the collection of debts by third parties

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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 3 of 31 Page|D #: 82

_S_e§ 15 U.S.C. § 1692 et seq. The FDCPA imposes civil liability on any person or entity that
violates its provisions, and establishes general standards of debt collector conduct, defines abuse,
and provides for specific consumer rights 15 U.S.C. § 16921<. The operative provisions of the
FDCPA declare certain rights to be provided to or claimed by debtors, forbid deceitful and
misleading practices, prohibit harassing and abusive tactics, and proscribe unfair or
unconscionable conduct, both generally and in a specific list of disapproved practices

13. In particular, the FDCPA broadly enumerates several practices considered
contrary to its stated purpose, and forbids debt collectors from taking such action. The
substantive heart of the FDCPA lies in three broad prohibitions First, a “debt collector may not
engage in any conduct the natural consequence of Which is to harass, oppress, or abuse any
person in connection With the collection of a debt.” 15 U.S.C. § 1692d. Second, a “debt
collector may not use any false, deceptive, or misleading representation or means in connection
vvith the collection of any debt.” 15 U.S.C. § 1692e. And third, a “debt collector may not use
unfair or unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. § 1692f.
The FDCPA is designed to protect consumers from unscrupulous collectors, Whether or not there
exists a valid debt, broadly prohibits unfair or unconscionable collection methods, conduct Which
harasses, oppresses or abuses any debtor, and any false, deceptive or misleading statements in
connection With the collection of a debt.

14. ln enacting the FDCPA, the United States Congress found that “[t]here is
abundant evidence of the use of abusive, deceptive, and unfair debt collection practices by many
debt collectors,” which “contribute to the number of personal bankruptcies, to marital instability,

to the loss of jobs, and to invasions of individual privacy.” 15 U.S.C. § 1692a. Congress

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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 4 of 31 Page|D #: 83

additionally found existing laws and procedures for redressing debt collection injuries to be
inadequate to protect consumers 15 U.S.C. § l692b.

15. Congress enacted the FDCPA to regulate the collection of consumer debts by debt
collectors The express purposes of the FDCPA are to “eliminate abusive debt collection
practices by debt collectors, to insure that debt collectors Who refrain from using abusive debt
collection practices are not competitively disadvantaged and to promote consistent State action

to protect consumers against debt collection abuses.” 15 U.S.C. § l692e.

FACTUAL ALLEGATIONS

16. At all relevant times, Defendants OXFORD AND l\/IARTIN Were 3arts attempting
to collect an alleged consumer debt from Plaintiff for a Gl\/lAC auto loan.
17. The alleged debt at issue arose out of transactions, Which Were primarily for

personal, family, or household purposes.

18. On November 25, 2009, Plaintiff contacted GMAC and requested an account

summary, including payments made and unpaid balance Gl\¢l?sr&advised-tl=tat-the-balanee-Was

 

19. GMAC advised Plaintiff that the balance Was $420.20.

20. Plaintiff immediately sent a check (no. 2176`} for $420.20 to GMAC. A true and
correct copy of Plaintiff` s December bank records is attached hereto as Exhibit “A”.

21. On Decernber 8, 2009, after Plaintiff had paid off the loan, GMAC resubmitted an
earlier checlc,-#Q-l§§r §no. 2155! for $360.()0. W Exhibit “B”.

22. ma on December 10, 2009, Plaintiff received a letter from GMAC

congratulating him for paying off his auto loan and enclosing the Certificate of Title, releasing

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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 5 of 31 Page|D #: 84

the lien. A true and correct copy of GMAC’s December lO, 2009, letter is attached hereto as
Exhibit “C”.

23. Beginning on or around December 15, 2009, and continuing through September
2010, Defendants OXFORD and MARTIN, by and through their its agents, employees, and
servants, engaged in debt collection activities seeking and demanding payment from Plaintiff of
additional-amounts for the GMAC auto loan, Which had already been paid in full.

24. ln its attempts to collect a debt. Defendants OXFORD and MARTIN, by and
through their employees and agents, made continuous and repeated telephone calls to Plaintiff’ s
home telephone number, originating from phone number: (800) 801-3941, Which the

undersigned has confirmed belongs to Defendant OXFORD.

 

25. Then: on or about around September l, 2010, Specifically, Defendant_s_’_ agent,

“Williarn Beendiz,” called Plaintiff and g_l_a_i“r_n“_e“d insisted that Plaintiff still owed 8375.00 to
GMAC.

26. Plaintiff was surprised to receive this call, in light of the his December 10, 2009,
letter from GMAC removing the lien and enclosing the Certificate of 'i"itle.

27. Despite knowing this information, “William Beendiz” remained Was adamant that
Plaintiff still owed-that GMAC Wassiill-ewed 8375.00.

28. Beendiz further claimed to Plaintiff that “a lien” had been placed on the

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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 6 of 31 Page|D #: 85

Certificate of Title and that it “was cheaper to get the money from (Plaintiff), than to repossess

the automobile,” knowing that this was a false and deceptive statement

 
 

29. ` ” Believing that Beendiz

was correct and that his car could be repossessed, Plaintiff felt that he had no choice but to

acquiesce to the demands of Defendant and pay the §375.00.
30. Plaintiff told “William Beendiz” that he lacked sufficient funds at that time to w

the full amount to which Beendiz responded that payment of $350.00 immediately would

 

satisfy the debt.

34. Plaintiff reluctantly agreed to make monthly payments and reiuetantly provided
Defendant OXFORD with his bank account informationl

35. Thereafter, on September 17. 2010. Plaintiff called Defendant OXFORD to
explain that his work hours were cut and he could not pay the alleged debt

36. Defendant OXFORD told Plaintiff that the debt would be considered paid in full
if Plaintiff paid $3 00.00. Which Plaintiff explained that he could not do.

37 . On September 17, 2010, Defendant removed 862.95 from Plaintiff’ s bank

account A true and con'ecl copy of Plaintil`l`s Septelnber bank record is attached hereto as

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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 7 of 31 Page|D #: 86

Exhibit “D”.

38. On October 15, 2010, Defendant OXFORD took out another payment of $62.95
from Plaintiff` s bank account by-De-fendant-. A true and correct copy of Plaintiff’ s October bank
records is attached hereto as Exhibit “E”.

39. Upon information and belief, Defendants OXFORD and MARTIN sought to
collect a debt from Plaintiff despite the fact that no debt was due, and no reliable documentation
was relied upon in making a demand for payment

40. Defendants OXFORD and MARTIN knew that a lien could not cannot be placed
on a motor vehicle title in the manner Defendant OXFORD claimed, it-hadbeen and that in fact,
no such lien had been placed on the title after December 10, 2009.

41. Upon information and belief, Defendant took money from Plaintiff’s checking
account by employing deceptive and fraudulent collection tactics and practicesl

42. Defendant’s actions in attempting to collect the alleged debt were harassing,

abusive and highly deceptive

CONSTRUCTION OF APPLICABLE LAW
43. The FDCPA is a strict liability statutel Tavlor v. Perrin, Landry, deLaunav &
prpanwd, 103 F.3d 1232 (5th Cir. 1997). “Bccause the Act imposes strict liability, a consumer
need not show intentional conduct by the debt collector to be entitled to damages.” Russell v.
Eguifax A.R.S., 74 F. 3d 30 (2d Cir. 1996); see also Gearing v. Check Brokerage Corp. 233
F.3d 469 (7th Cir. 2000) (holding unintentional misrepresentation of debt collector’s legal status

violated h`DCPA); Clomon v. lapkson, 988 F. 2d 1314 ( 2d Cir. 1993).

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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 8 of 31 Page|D #: 87

44, The FDCPA is a remedial statute, and therefore must be construed liberally in
favor of the debtor. Sprinkle v. SB&C Ltd., 472 F. Supp. 2d 1235 (W.D. Wash. 2006). The
remedial nature of the FDCPA requires that courts interpret it liberally Clark v. Capital Credit
& Collection Services, lnc., 460 F. 3d 1162 (9th Cir. 2006). “Because the FDCPA, like the
Truth in Lending Act (TILA) 15 U.S.C §1601 et seq., is a remedial statute, it should be
construed liberally in favor of the consumer.” Johnson v. Riddle, 305 F. 3d 1107 (lOth Cir.
2002).

45. The FDCPA is to be interpreted in accordance with the “least sophisticated”
consumer standard See Jeter v. Credit Bureau. lnc., 760 F.2d 1168 (11th Cir. 1985); ”Qr_,a_th,i_awpp
v. llarrison, 950 F. 2d 107 (3rd Cir. 1991); Swanson v. Southem Oregon Credit Service5 lnc.,
869 F.2d 1222 (9th Cir. 1988). The FDCPA was not “made for the protection of experts, but for
the public - that vast multitude Which includes the ignorant, the unthinking, and the credulous,
and the fact that a false statement may be obviously false to those who are trained and
experienced does not change its character, nor take away its power to deceive others less
experienced.” I;d. The least sophisticated consumer standard serves a dual purpose in that it
ensures protection of all consumers, even naive and trusting, against deceptive collection
practices, and protects collectors against liability for bizarre or idiosyncratic interpretations of
collection notices wm 988 F. 2d at 1318.

COUNT I
DEFENDANT§ VIOLATED THE
FAIR DEBT COLLECTION PRACTICES ACT

46. In its actions to collect a disputed debt, Defendants violated the FDCPA in one or
more of the following ways:

a. Defendant§ violated of the FDCPA generally;

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PLAINTIFF’S AMENDED COMPLAINT

 

 

 

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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 9 of 31 Page|D #: 88

b. Defendant§ violated §1692d of the FDCPA by harassing Plaintiff with phpne
calls and voicem_ail messages in connection with the collection of an alleged
debt;

c. Defendant§ violated §1692d(5) of the FDCPA by causing a telephone to ring
repeatedly or continuously with the intent to annoy, abuse, and harass
Plaintiff;

d. Defendant§ violated §1692e of the FDCPA by using false, deceptive, cr
misleading representations or means in connection with the collection of a
debt;

e. Defendant§ violated §1692e(2) of the FDCPA by falsely representing the
character, amount, or legal status of any debt',

f. Defendant§ violated §1692e{l0) of the FDCPA by use of false representation
or deceptive means to collect or attempt to collect banking information;

g. l)efendant_s_ violated §1692f of the FDCPA by using unfair and
unconscionable means with Plaintiff to collect or attempt to collect a debt;

h. Defendant§ violated §1692f(6) of the FDCPA by threatening to repossess
Plaintiff`s vehicle when there was no present right to do so and no intention to
do so.

i. Defendant§ violated §1692g(a) of the FDCPA by failing to send written
notification, within 5 days after its initial communication, advising of
Plaintift` s rights to dispute the debt or request verification of the debt; Mi

j. By acting in an otherwise deceptive, unfair and unconscionable manner and

failing to comply with the FDCPA.

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PLAINTIFF’S AMENDED COMPLAINT

 

 

 

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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 10 of 31 Page|D #: 89

WHEREFORE, Plaintiff, JAl\/IES C. DAY, respectfully prays for a judgment against
Defendants OXFORD and MARTIN as follows:

a. All actual compensatory damages suffered pursuant to 15 U.S.C. §
1692k(a)(1);

b. Statutory damages of $1,000.00 for th_e each violation of the FDCPA
pursuant to 15 U.S.C. § 1692k(a)(2)(A);

c. All reasonable attorneys’ fees, witness fees, court costs and other litigation
costs incurred by Plaintiff pursuant to 15 U.S.C. § l693k(a)(3); and

d. Any other relief deemed appropriate by this Honorable Court.

DEMAND FOR JURY TRIAL
Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this
action, and any issues relating to the amount of attorneys’ fees and litigation costs to be awarded

should Plaintiff prevail on any of her claims in this action

RESPECTFULLY SUBMITTED,
KIMMEL & SlLVERMAN, P.C.

Date: By: /s/ W. Christopher Cornponovo
W. Christopher Componovo
Attorney lD # 3234
Kimmel & Silverman, P.C.
Silverside Carr Executive Center
Suite 118, 501 Silverside Road
Wilrnington, DE 19809
Phcne: (302) 791-93 73
Fax: (302) 791-9476

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Case 1:11-cv-00058-GI\/|S Document _7 Filed 01/31/12 Page 11 of 31 Page|D #: 90

All-in-One Statemgnt

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Case 1:11-Cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 12 of 31 Page|D #: 91

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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 13 of 31 Page|D #: 92

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Case 1:11-Cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 14 of 31 Page|D #: 93

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Case 1:11-Cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 15 of 31 Page|D #: 94

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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 16 of 31 Page|D #: 95

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Case 1:11-Cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 17 of 31 Page|D #: 96

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Case 1:11-Cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 18 of 31 Page|D #: 97

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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 19 of 31 Page|D #: 98

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Case 1:11-cv-00058-GI\/|S Document 7 Filed 01/31/12 Page 20 of 31 Page|D #: 99

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Case 1:11-Cv-00058-G|\/|S Document 7 Filed 01/31/12 Page 22 of 31 Page|D #: 101

 

 

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Case 1:11-Cv-00058-G|\/|S Document 7 Filed 01/31/12 Page 24 of 31 Page|D #: 103

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Case 1:11-Cv-00058-G|\/|S Document 7 Filed 01/31/12 Page 26 of 31 Page|D #: 105

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Case 1:11-Cv-00058-G|\/|S Document 7 Filed 01/31/12 Page 28 of 31 Page|D #: 107

AlI-in~One Statement

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All~in»One Statement

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Descriptinn

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AIl-m-One Statement
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Case 1:11-Cv-00053-G|\/|S Document 7 Filed 01/31/12 Page 31 of 31 Page|D #: 110

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A|l~in~One Statement

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